   EXHIBIT 5
    REDACTED PURSUANT TO
APRIL 25, 2019 ORDER (ECF NO. 477)
                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA


ELIZABETH SINES et al. ,                       CASE NO: 3:17cv00072
                                               (J. Moon, Magistrate J. Hoppe)
             Plaintiff

vs.

JASON KESSLER et al.,

             Defendant

      DEFENDANT CHRISTOPHER CANTWELL'$ RESPONSES TO DEFENDANT'S FIRST
      INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS




      Now comes defendant Christopher Cantwell and responds to defendants first set of
Interrogatories and Request for Documents as follows:


                                 I. DISCOVERY REQUESTS
         1.    Identify all means of communication used by you to commun icate concerning the
Events, whether before, during, or after the Events, and for each means of communication, identify
all names, aliases, e-mail addresses, phone numbers, and Social Media Handles you used in
connection with such communications, including the 18-digit account identifier associated with any
Discord account used by You . Means of communications include, but are not limited to, telephone
calls, in-person meetings, and all means of electronic communication including, for example, Social
Media, email, SMS messages, podcasts, and online video.




      2.     Identify any "channel" or "server" on Discord to which you had access.

             ANSWER: See above answer to #1.


      3.     Identify all persons (natural or non-natural) with whom you communicated concerning
the Events, whether before, during, or after the Events.

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             ANSWER: Mr. Cantwell regul arly posts comments and podcasts dealing with,
       among other things, Charlottesville. He has no way of knowing who reads or li stens to
       these commentaries. Preparatory to Charlottesville Mr. Cantwell spoke to Jason
       Kessler, Eli Mose - e
                           aka Elliott Kline, Richard Spencer, and an individual known to
       Cantwell only as      .


      4.     Identify all Electronic Devices used by you to commun icate concerning the Events,
whether before, during, or after the Events.

              ANSWER: cellular                                                            ),
                      e-mai


                                    II. DOCUMENT REQUESTS




          1.     All Documents and Communications concerning the Events, including without
limitation all
documents and commun ications:
i. concerning any preparation, planning, transportation to, or coordination for, the Events,
including receipts, bills and credit card statements reflecting costs for transportation,
lodging, apparel, gear, or any other material purchased for the Events;
ii. concerning any instructions or coordination relating to the Events, including security
details, what to wear, what to bring, when to meet, where to meet, what to say, and any
other logistical information or arrangements;
iii. that are Social Media documents concerning the Events;
iv. you created during the Events, including Social Media, text messages, video, and
photographs;
v. concern ing African Americans, Jewish individuals, or other religious, racial, or ethnic
minorities that relate in any way to the Events;
vi. concerning any statement or action attributed to You in the Amended Complaint; or
vii. concerning any allegation of an altercation, violent act, injury, or instance of intimidation
or harassment that occurred during the Rally, including but not limited to James Fields'
veh icular incident; or
vii i. concern ing any funding of the Events, including for transportation, housing, food,
weapons, uniforms, signage, tiki torches, or other materials or services used in
connection with the Events (or the planning thereof) ..

              ANSWER: See attached.



       2. All Documents and Communications concern ing events, meetings, rallies,

                                                     2
         conferences, or conversations held prior to the Events that relate to the Events in any way.

              ANSWER: See attached.


       3.      All Documents concerning and all Communications concerning or with East Coast
       Knights of the Ku Klux Klan (or East Coast Knights of the True Invisible Empire), Fraternal
       Order of the AltKnights, Identity Europa (or Identity Evropa), League of the South, Loyal
       White Knights of the Ku Klux Klan (or Loyal White Knights Church of the Invisible Empire
       Inc.), Moonbase Holdings, LLC, Nationalist Socialist Movement, Nationalist Front (or Aryan
       National Alliance), Traditionalist Worker Party, Vanguard America, or any such other social
       group or organization that has as part of its agenda a racial, religious, or ethnic objective.

              ANSWER: See attached.


       4.    All Documents and Communications concerning violence, intimidation, or harassment
of Persons on the basis of race, religion, or ethnicity, including but not limited to, ethnic cleansing,
white genocide, a white ethno-state, or any other form of large or small scale violence.

              ANSWER: See attached.




      5.      For any Social Media account You had from January 1, 2015, to the present: i.
Documents and Communication sufficient to show the account home page, and all uses of Social
Media for that account that reference or concern the Events or Defendants in any way. ii.
Documents and Communication sufficient to show all Your “friends” and/or “social connections”
maintained on Your account, including their names, addresses, and social network usernames or
handles.

              ANSWER: See attached.


      6.     All Documents concerning and all Communications concerning or with any Plaintiff or
Defendant (other than You) named in the Amended Complaint, and any other Person who attended,
planned or was involved in the Events.

              ANSWER: See attached.

       7.      All Documents and Communications concerning any lawsuits, claims of violence, or
arrests relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any
Defendant named in the Amended Complaint.

              ANSWER: None other than items responsive to above requests.


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     8.    All Documents and Communications concerning the steps you have taken to preserve
Documents and Communications relevant to the lawsuit, including the Documents and
Communications responsive to these Requests.

             ANSWER: None other than items responsive to above requests.



                                        Respectfully Submitted and as to Objections:

                                        s/ James E. Kolenich PHV
                                         James E. Kolenich
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on April 6, 2018
via email upon: Mr. Yotam Barkai, Esq., Ms. Sequin Strohmeier Esq. Attorneys for Plaintiffs as
follows: email: YBarkai@bsfllp.com; sstrohmeier@kaplanandcompany.com


                                                     s/ James E. Kolenich PHV
                                                     James E. Kolenich




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Personally a-p-pe=c...a..<...re_d_b_e_fo_r_e_m_e_Christopher Cantwell , on      &" (date) and did swear
that the above responses to interrogatories and requests for production of documents are true and correct
10 the be c of · knowledge on chc date listed in this acknowledgement.
